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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

BENJAMIN WATSON, JR., et al.,
    Plaintiff,

v.                                             Case No. 3:21cv329-MCR-ZCB

KINGDOM OF SAUDI ARABIA,
     Defendant.
_________________________________/

                                        ORDER

         Pending are a Motion for Jurisdictional Discovery filed by Plaintiffs, ECF No.

43, and a Motion to Dismiss filed by Defendant Kingdom of Saudi Arabia, ECF No.

46. The Court finds it appropriate to refer the motions to the assigned magistrate

judge.

         Accordingly, the Motion for Jurisdictional Discovery filed by Plaintiffs, ECF

No. 43, is hereby referred to the assigned magistrate judge for disposition by order,

pursuant to Rule 72(a) of the Federal Rules of Civil Procedure; and the Motion to

Dismiss filed by Defendant Kingdom of Saudi Arabia, ECF No. 46, is hereby

referred to the assigned magistrate judge for a report and recommendation pursuant

to Rule 72(b) of the Federal Rules of Civil Procedure. See also N.D. Fla. Loc. R.

72.3; 28 U.S.C. § 636(b)(1)(B).

         DONE AND ORDERED this 1st day of September 2022.
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                         M. Casey Rodgers
                       M. CASEY RODGERS
                       UNITED STATES DISTRICT JUDGE
